CaSe:lS-18945-TB|\/| DOC#Z4 Filed:lO/lZ/J_S Entered:lO/12/1817253248 Pagel Ofl

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re:

Case No. 18-
CARDEL MASTER BUILDER, INC., a
Delaware corporation, Chapter ll

EIN: XX-XXXXXXX

N_/\-/`/\/\/\/\/

Debtor.

STATEMENT REGARDING CASHFLOW STATEMENT

 

I, Matt Preston, as controller of Cardel Master Builder, Inc. (“Cardel Master Builder”),
general partner of Cardel Clocktower Lirnited Partnership (“Cardel Clocktower”), hereby state as
follows:

l. I am controller of Cardel Master Builder. Cardel Master Builder is the general partner of
Cardel Clocktower.

2. Neither Cardel Master Builder nor Cardel Clocktower has prepared a cashilow statement

I declare under penalty of perjury the foregoing is true and accurate to the best of my knowledge
and belief.

Dated: October \ 1/,2018 Q__

\__.J

